Case 1:04-cv-01197-.]DT-STA Document 45 Filed 07/18/05 Page 1 of 2 Page|D 22

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IN THE UNITED sTATES DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESQ§§UL l 8 PH _
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MARYLAND CASUAL'I`Y CO.,

  
 

Plaintiff,
vs. No. 04-1197 T/An

L&H SUPPLY COMPANY, INC.,
et al.,

`_/`~_/\_r\_/`~_¢\_J\_/\_¢\_/V\_/

Defendants.

 

ORDER SETTING HEARING

 

Before the Court is Plaintift’s Motion to Extend Discovery filed on June 27, 2005. Also
before the Court is Defendants’ Motion to Strike Designation of Expert Witness filed on June 30,
2005. United States District Judge J ames D. Todd referred these matters to the Magistrate Judge
for determination AHer due consideration, it is ORDERED that a hearing shall be held before
United States Magistrate Judge S. Thomas Anderson on FRIDAY, AUGUST S, 2005 at 11:00
A.M. in the Magistrate Judge Courtroom, 4th Floor, United States Courthouse, 111 S. Highland

Avenue, Jackson, Tennessee.

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QM»Q..\ /3 200(
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 45 in

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July 19, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

